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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CRAIG GENESS                                   : CIVIL ACTION
                                                :
                      v.                        : NO. 16-876
                                                :
 COMMONWEALTH OF                                :
 PENNSYLVANIA                                   :

                                            ORDER
       AND NOW, this 19th day of October 2020, upon reviewing the Status Report (ECF Doc.

No. 339) responsive to our October 14, 2020 Order (ECF Doc. No. 338), and finding good cause

for a short extension to allow the Commonwealth’s counsel to respond to obligations under our

October 15, 2020 Order, it is ORDERED we amend our October 14, 2020 Order (ECF Doc. No.

338) to allow Plaintiff leave to file a joint status report on or before October 26, 2020 addressing

both the tender of payment on the approved settlement (anticipated this week) and the position of

the Commonwealth’s counsel as to a likelihood of success in a return to mediation over the next

month on the remaining claims against the Commonwealth.



                                                     __________________________
                                                     KEARNEY, J.
